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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                     :
                                             :      1:21-cr-00190-DLF
               v.                            :
                                             :
ZACHARY JORDAN ALAM                          :
                                             :
                      Defendant.             :


                                 NOTICE OF DISCOVERY

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, hereby informs the Court and defense that the attached discovery letter

of October 25, 2021, was provided to defense counsel in this matter.

                                             Respectfully submitted,

                                             CHANNING D. PHILLIPS
                                             Acting United States Attorney
                                             D.C. Bar No. 415793


                                     By:
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